                             Case 1:22-cv-04598-BMC Document 2-1 Filed 08/04/22 Page 1 of 3 PageID #: 16

                                                          Exhibit A to the Complaint
Location: Brooklyn, NY                                                                                   IP Address: 173.56.32.236
Total Works Infringed: 33                                                                                ISP: Verizon Fios
 Work      Hashes                                                                 UTC             Site          Published     Registered   Registration
 1         Info Hash: 3BA07A5A0626425EACAEC907C781A5E28FB2871E                           07-04-   Blacked       07-02-2022    07-22-2022   PA0002359461
           File Hash:                                                                      2022
           185BCC2603876AECECA7CEB4F73D04DAE6B398D5C7BEE77C5EAA6C8D28CD4F27            16:23:54
 2         Info Hash: 9B7406EC07DE8022005970F76906D51A274E0690                           07-04-   Blacked       06-27-2022    07-22-2022   PA0002359465
           File Hash:                                                                      2022   Raw
           F99FEA73133BE233ED03F8FFC993EF324E33C4BE5424DC24FC89FEA6569664EB            16:23:28
 3         Info Hash: 8250F638FC20893A0B60A732D01F8296EB9A372E                           06-26-   Blacked       06-18-2022    06-27-2022   PA0002355032
           File Hash:                                                                      2022
           C0E0EE2941DF630579425C54DBFCC249222D7C1FC059F97E4137027A6C197835            21:02:47
 4         Info Hash: 141878F404F3ADC6EE96B8F9C8286F1A6D27A038                           05-30-   Blacked       05-23-2022    06-27-2022   PA0002355031
           File Hash:                                                                      2022   Raw
           A8FEEA012BFA3AA2AB0B6096A186E934C32F7D67486DADBDBF922646E38A2CCC            15:11:44
 5         Info Hash: E0AF7859247E9800D759DA84A45EEFBFDDD10940                           04-17-   Tushy         04-10-2022    04-23-2022   PA0002346425
           File Hash:                                                                      2022
           0B14DBE570574A0AF499E20F778375B8D4031013148AB5387C2EF9DF6BEFCA94            17:19:04
 6         Info Hash: B1EDE7608353AC629674C063D98C5805C47B0A54                           04-17-   Vixen         04-08-2022    05-20-2022   PA0002350388
           File Hash:                                                                      2022
           CB024A1E7CEB51E3DD8A6EFAD07F79A295005892776D287284BA877AE6F1754E            17:12:37
 7         Info Hash: 5445DD9C92418EE7E926A0407EF2A469CC29E065                           03-26-   Blacked       03-12-2022    03-29-2022   PA0002342846
           File Hash:                                                                      2022
           25CF923E04CBCAD2098F8D8D50D454B3FABB2B508996299092B99B58B78A74DA            21:18:43
 8         Info Hash: 2086A77461DFEF73723AD2CDEB02004EE26C8A9E                           03-06-   Blacked       02-28-2022    03-29-2022   PA0002342857
           File Hash:                                                                      2022   Raw
           CE9E75C0892054B49B6AD9D588CF934BAEA2F1B0DF2AF6B0836A3CB497E65638            21:52:55
 9         Info Hash: 9DB4CA8457B6275527292B39B9894F50D6537A37                           01-26-   Blacked       01-24-2022    02-14-2022   PA0002335489
           File Hash:                                                                      2022   Raw
           C9CD4A15D94A746AC94196AEAAD553CFD5A7CF812213320D8F2B8E5F368DF9FB            23:44:34
 10        Info Hash: 775DEB6869799752C425208A57EC76F2FD91B60C                           01-26-   Vixen         01-21-2022    02-14-2022   PA0002335466
           File Hash:                                                                      2022
           C7AF91E7382DAFE1AC88504E58F319D0553667EBD1539184C2C5ACF67D53CFFC            23:43:43
 11        Info Hash: 65B2AE6546D2A1E20EBC6A467D52FD553681CD5D                           01-21-   Blacked       01-17-2022    03-04-2022   PA0002345790
           File Hash:                                                                      2022   Raw
           794E8909910EE06D702F127BF3B058239F8BA3FCC0F7CB96A3C91F99FB61F9B5            04:26:47
                        Case 1:22-cv-04598-BMC Document 2-1 Filed 08/04/22 Page 2 of 3 PageID #: 17

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 4E478C0D6C13D7F2E0DB6AE09D6260378FACC3C9                   01-09-   Blacked   01-08-2022   01-17-2022   PA0002330123
       File Hash:                                                              2022
       F040BDD4A99C0DE4A6ED420EBABD975406DC2FC4B90A275D0DAA98BAC9A49012    23:22:26
13     Info Hash: CC60A20C605A540B07CE60B2BE1806121B0BA495                   12-26-   Blacked   12-25-2021   01-17-2022   PA0002330103
       File Hash:                                                              2021
       D5BA24EA5531B610FBAD2D631589F77BA69A97CE0D76ACD258DF71450936AC8E    16:21:58
14     Info Hash: 4B576AA5A92A83B45E0239342446F37CD934EBEF                   12-12-   Blacked   12-06-2021   12-13-2021   PA0002325836
       File Hash:                                                              2021   Raw
       C64891F0027E36B48D465F40689AB07D635021569070B5ABF4533F513144F190    14:43:19
15     Info Hash: 3FE961EE90C2E5C570D1558C2B2D1943CB2219CB                   12-07-   Blacked   12-04-2021   12-09-2021   PA0002325833
       File Hash:                                                              2021
       55C9681E8D9E09D407E04F41BE38EBB3DFB942FC52C7C97F531E2DDBD2A4C779    01:16:57
16     Info Hash: DF5A3ED0D9B657DA66FAA15661AC252D29DEAC98                   12-04-   Blacked   11-29-2021   02-03-2022   PA0002341803
       File Hash:                                                              2021   Raw
       9D4EEEA36904351FF7E3EA081F09429CC981EBFC46812A84311AEB4DC267B0A5    00:38:38
17     Info Hash: 87F468553EA23E72D28CA890B907929E9C4EAD08                   11-29-   Blacked   11-20-2021   12-09-2021   PA0002325817
       File Hash:                                                              2021
       C13DB6BD87D82DA98768640105FE654F244CE5593E27C6AE9EA8A4287E12B12D    17:48:19
18     Info Hash: EB2FA6D8D0F409495CFD399CD2DF142F55EB24D4                   11-29-   Blacked   11-22-2021   12-09-2021   PA0002325831
       File Hash:                                                              2021   Raw
       F6094559C3FA16B75D2E4A8D84124BBF01D59B4C80814C7507E0657BFDFD7D35    14:36:14
19     Info Hash: 372C16BE53C1B0D0DA0700D6CF211107D110CC5B                   11-29-   Vixen     11-19-2021   12-09-2021   PA0002325815
       File Hash:                                                              2021
       874D6C9BEF7F531CA458C79F051DA7F2F3D592FE17FC8E330FC6EF7062477E3A    14:14:18
20     Info Hash: 457F7BED4CC3B07E1856BCA4E5480BCBA6AFEC5D                   11-18-   Tushy     11-14-2021   01-07-2022   PA0002337916
       File Hash:                                                              2021
       FB87CEFF77A0FDCF4D2F25886A55504FCC0B771C5B18ECFA3E02A47F9427B25F    23:56:39
21     Info Hash: DB89B75E9DAD31F15DC983AABCEB9AE720EDB193                   11-15-   Vixen     11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       4944D7029732BDEAB22221D7A9735586B69A051A79247640CBDDC1C8D2D2F2DF    16:24:23
22     Info Hash: C91ABE1D9F937D2C6685B782CEB3DB5588A371F1                   11-15-   Blacked   11-13-2021   12-09-2021   PA0002325812
       File Hash:                                                              2021
       402974DCB5135AD3AA2827D46CF17940EA6F5FB77529875D432F9699594C46DC    16:23:00
23     Info Hash: 331C4C8842676BF2C6FDBC1D6017CDD287FA759B                   11-11-   Blacked   11-08-2021   01-07-2022   PA0002337933
       File Hash:                                                              2021   Raw
       BAE4188FB4D988C057B8E4472E7B01E2B3EF42CD4CE9A3350C38398C608A9E61    22:23:35
                         Case 1:22-cv-04598-BMC Document 2-1 Filed 08/04/22 Page 3 of 3 PageID #: 18

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: F4C3503ABE5315155B4A64427362A51FD395A73C                   11-11-   Tushy     11-07-2021   11-11-2021   PA0002321317
       File Hash:                                                              2021
       A70518FCE6A19B5B182D848D273D737599A267D70202671CCCC83C70A5044DEE    22:14:26
25     Info Hash: 5AE06657B0A1262628E416B5D64EAC7FB92CE5AF                   11-11-   Blacked   10-30-2021   11-11-2021   PA0002321300
       File Hash:                                                              2021
       FD3BB85EFD41C7A2A819AD2ADA565E4AF1A3EE6DF78ADEF9603C1BE66561E3F0    22:14:18
26     Info Hash: 1FBAD8F90D864550D63CD05A7924A75B686E5302                   11-11-   Vixen     10-22-2021   11-11-2021   PA0002321272
       File Hash:                                                              2021
       BFCC75D79B0A13C65DD783C40EC97C868CDF5679D57346333DC6F985F1404F8C    22:14:13
27     Info Hash: 6035AA12C63BA7B5A3BD424C629C41DCB5C5E94D                   10-19-   Blacked   10-11-2021   10-19-2021   PA0002317052
       File Hash:                                                              2021   Raw
       A5330871A31599822F5ECED5AB8C9376CD354FB59A0728B501459406CA1FA6A3    00:09:00
28     Info Hash: 0EDEEB3EFB1595EC8FD6F5FF35A07BE00B91E1E8                   10-12-   Vixen     10-08-2021   11-11-2021   PA0002321269
       File Hash:                                                              2021
       3973944F36D613CC8418865FAF957994D12F45845EF626482A808D394DC2BA98    00:51:22
29     Info Hash: 37967D2FD4A78721BCCB0DA7038F8933F074FB60                   10-12-   Vixen     09-29-2021   11-11-2021   PA0002321322
       File Hash:                                                              2021
       562E04C943120CC98F3B6D48DABBA877D5BB23A106E1CA53199FC56776DBC2FE    00:46:56
30     Info Hash: E895A41D78A039F714C4F3C30491EA2F3FCE4B35                   09-22-   Blacked   09-18-2021   10-05-2021   PA0002315291
       File Hash:                                                              2021
       37B08BA5FC4C27630984E855BE49E906D16D01979D265E4E6E83679D71914A06    16:44:29
31     Info Hash: 44510C39CBDE623DB076713726B8EE66A5153FA8                   09-20-   Blacked   09-13-2021   11-11-2021   PA0002321292
       File Hash:                                                              2021   Raw
       86FF2D94459908CB93FD1A67A831204DD7F2EDB3EDBEB5538D485E3FD012349E    01:20:02
32     Info Hash: 8E53FF2E1F38259E5F74502C9F49DBDAC1BC341B                   09-20-   Vixen     09-17-2021   10-05-2021   PA0002315292
       File Hash:                                                              2021
       457946B198BE4FA38CC1DD3CB44F63670A89961950BF542FCC977EB501794233    01:15:00
33     Info Hash: 0E02F7035E6C0A7B806023E254BE4B877B859AFE                   09-20-   Tushy     09-19-2021   10-19-2021   PA0002317058
       File Hash:                                                              2021
       061A655D71EED8816773D4D81C2685BE46EEACFFE09679F1D84F8255267C6A3C    01:13:47
